        Case 3:24-cv-06507-JD         Document 127        Filed 06/17/25      Page 1 of 16



1    Michael J. Bettinger (CA SBN 122196)            Gwen Hochman Stewart (admitted pro hac vice)
     SIDLEY AUSTIN LLP                               Maxwell H. Terry (admitted pro hac vice)
2    555 California Street, Suite 2000               SIDLEY AUSTIN LLP
     San Francisco, CA 94104                         One South Dearborn
3    Telephone: (415) 772-1200                       Chicago, IL 60603
     Facsimile: (415) 772-7400                       Telephone: (312) 853-7000
4    mbettinger@sidley.com                           Facsimile: (312) 853-7036
                                                     gstewart@sidley.com;
5    Samuel N. Tiu (CA SBN 216291)                   maxwell.terry@sidley.com
     Eric B. Schwartz (CA SBN 266554)
6    Brooke S. Böll (CA SBN 318372)
     Marissa X. Hernandez (CA SBN 341449)
7    SIDLEY AUSTIN LLP
     350 South Grand Avenue
8    Los Angeles, CA 90071
     Telephone: (213) 896-6000
9    Facsimile: (213) 896-6600
     stiu@sidley.com; eschwartz@sidley.com;
10   brooke.boll@sidley.com;
     marissa.hernandez@sidley.com
11

12   Attorneys for Defendants
     MOTIFF PTE. LTD., YUANFUDAO HK
13   LTD., AND KANYUN HOLDING GROUP
     CO. LTD.
14

15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                     SAN FRANCISCO DIVISION

18   FIGMA, INC.,                                        Case No. 3:24-cv-06507-JD

19                  Plaintiff,                           DEFENDANTS’ OPPOSITION TO
                                                         PLAINTIFF’S MOTION FOR LEAVE TO
20          vs.                                          AMEND COMPLAINT

21   MOTIFF PTE. LTD., YUANFUDAO HK LTD.,                Date:          July 10, 2025
     and KANYUN HOLDING GROUP CO. LTD.,                  Time:          10:00 a.m.
22                                                       Courtroom:     11 – 19th Floor
                    Defendants.                          Judge:         Honorable James Donato
23
                                                         Trial Date:     August 18, 2025
24

25

26
27

28

       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
            Case 3:24-cv-06507-JD                    Document 127                Filed 06/17/25              Page 2 of 16



1                                                         TABLE OF CONTENTS
2    I.         INTRODUCTION .....................................................................................................................1
3    II.        RELEVANT BACKGROUND .................................................................................................2
4    III.       LEGAL STANDARD ................................................................................................................3
5    IV.        ARGUMENT .............................................................................................................................4
6               A.        The Proposed Amendment Will Cause Substantial Undue Prejudice to Motiff ............4
7               B.        Figma Unduly Delayed in Amending Its Complaint .....................................................7
8               C.        Figma’s Motion Is Untimely Gamesmanship On the Eve of Trial ................................9
9               D.        Figma’s Approach to This Amendment Should Be Discouraged ................................10
10              E.        The Proposed Amendment is Futile .............................................................................11
11   V.         CONCLUSION ........................................................................................................................12
12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28
                                                                           i
           DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
         Case 3:24-cv-06507-JD                     Document 127               Filed 06/17/25             Page 3 of 16



1                                                    TABLE OF AUTHORITIES
2                                                                                                                                     Page(s)
3    Cases
4
     Booker v. Glotel, Inc.,
5       No. C 05-4795 CW, 2006 WL 823218 (N.D. Cal. Mar. 28, 2006) .................................................5

6    Callan v. Amdahl Corp.,
        Civ. No. C–94–0295, 1995 WL 261420 (N.D. Cal. 1995) ..............................................................5
7
     Competition Specialties, Inc. v. Competition Specialties, Inc.,
8      87 F. App’x 38 (9th Cir. 2004) ........................................................................................................6
9    Elder v. Hilton Worldwide Holdings, Inc.,
10      No. 16-CV-00278-TEH, 2017 WL 975959 (N.D. Cal. Mar. 14, 2017) ........................................11

11   Eminence Cap., LLC v. Aspeon, Inc.,
        316 F.3d 1048 (9th Cir. 2003) .........................................................................................................4
12
     Fresno Unified Sch. Dist. v. K.U. ex rel. A.D.U.,
13      980 F. Supp. 2d 1160 (E.D. Cal. 2013)............................................................................................6
14   Heilman v. Dillen,
15      No. CV 14-6298 JVS (FFM), 2018 WL 6262873 (C.D. Cal. Aug. 16, 2018)...........................9, 10

16   hiQ Labs, Inc. v. LinkedIn Corp.,
        31 F.4th 1180 (9th Cir. 2022) ..................................................................................................11, 12
17
     iSpot.tv, Inc. v. Teyfukova,
18      No. 2:21-CV-06815, 2023 WL 1967958 (C.D. Cal. Jan. 25, 2023) ..............................................12
19   Jackson v. Bank of Hawaii,
        902 F.2d 1385 (9th Cir. 1990) .....................................................................................................3, 4
20

21   Johnson v. Hewlett-Packard Co.,
        809 F. Supp. 2d 1114 (N.D. Cal. 2011) ...........................................................................................7
22
     Kaplan v. Rose,
23      49 F.3d 1363 (9th Cir. 1994) ...........................................................................................................6
24   Lockheed Martin Corp. v. Network Sols., Inc.,
        194 F.3d 980 (9th Cir. 1999) ...........................................................................................................6
25
     McGlinchy v. Shell Chemical Co.,
26
       845 F.2d 802 (9th Cir. 1988) ...........................................................................................................5
27
     Meta Platforms, Inc. v. BrandTotal Ltd.,
28      605 F. Supp. 3d 1218 (N.D. Cal. 2022) .........................................................................................12

        DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
          Case 3:24-cv-06507-JD                       Document 127                  Filed 06/17/25              Page 4 of 16



 1   Moeller v. Taco Bell Corp.,
       No. C 02-5849 PJH, 2013 WL 12440996 (N.D. Cal. Nov. 21, 2013) .............................................4
 2
     Nunes v. Ashcroft,
 3
        375 F.3d 805 (9th Cir. 2004) ...........................................................................................................4
 4
     Overpeck v. FedEx Corp.,
 5      No. 18-CV-07553-PJH, 2020 WL 2542030 (N.D. Cal. May 19, 2020) ..........................................4

 6   Robertson v. Bruckert,
        568 F. Supp. 3d 1044 (N.D. Cal. 2021) .......................................................................................4, 5
 7
     Scognamillo v. Credit Suisse First Bos., LLC,
 8      587 F. Supp. 2d 1149 (N.D. Cal. 2008) .......................................................................................4, 5
 9
     Sonoma Cnty. Ass’n of Retired Emps. v. Sonoma Cnty.,
10      708 F.3d 1109 (9th Cir. 2013) .........................................................................................................4

11   Talavera v. Glob. Payments, Inc.,
        670 F. Supp. 3d 1074 (S.D. Cal. 2023) ............................................................................................5
12
     Van Buren v. United States,
13      141 S.Ct. 1648 (2021) ..............................................................................................................11, 12
14
     X Corp. v. Ctr. for Countering Digital Hate, Inc.,
15      724 F. Supp. 3d 948 (N.D. Cal. 2024) ...........................................................................................11

16   Statutes

17   17 U.S.C. § 1201(a)(2) ...........................................................................................................................5

18   Court Rules
19   FRCP 15(a)(2) ........................................................................................................................................3
20

21

22

23

24

25

26
27

28
                                                                             i
        DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
           Case 3:24-cv-06507-JD         Document 127        Filed 06/17/25      Page 5 of 16



1    I.        INTRODUCTION

2              Plaintiff filed a motion for preliminary injunction on January 23, 2025. At the Initial Case

3    Scheduling Conference on February 13, 2025, the Court set a hearing on the motion for May 15, 2025.

4    The parties then engaged in extensive percipient and expert discovery for the next three months. At

5    the February scheduling conference, the Court suggested that the parties get their experts in the same

6    room to look at the source code to see if there was any copying. Defendants took heed, and after 60+

7    hours of review of the parties’ proprietary source code, Defendants’ expert Dr. Cory Plock concluded

8    that there was no copying. Plaintiff, in contrast, continues to rely upon its "substantial similarity"

9    argument rather than expert analysis of the source code. When the Court declined to grant Plaintiff’s
10   preliminary injunction motion, Plaintiff opted for an expedited trial date of August 18, 2025. Now,

11   less than two weeks before the opening supplemental expert reports (due June 18), and less than two

12   months before the August 7 pretrial conference, Plaintiff seeks to amend the complaint to add three

13   new causes of action and three new foreign parties. The request is untimely, prejudicial to the present

14   Defendants as well as the three proposed new ones, and smacks of gamesmanship.

15             Faced with the lack of evidence of any copying of proprietary source code, Plaintiff now moves

16   to amend its complaint to assert three new causes of action beyond the original claims of copyright

17   infringement and breach of contract. The new causes of action, for purported violations of the Digital

18   Millennium Copyright Act, the Computer Fraud and Abuse Act, and Cal. Bus. & Prof. Code § 17200,

19   are based on facts that Plaintiff had obtained months ago. Plaintiff also knew of the three new parties
20   months before. Plaintiff, however, never even raised the prospect of an amended complaint or

21   additional parties when the Court set the case for an expedited trial at the May 15, 2025 hearing, or

22   when the parties submitted a joint report to confirm the trial date several days later. Waiting until the

23   Court first set an August 7 pretrial and an August 18 trial before moving to amend the complaint,

24   based on facts known months before, has the appearance of a calculated move to prejudice Defendants

25   on the eve of trial. As explained more fully below, Defendants request that the motion to amend at this

26   late date in the proceedings be denied, and that the parties proceed to trial on the copyright and breach
27   of contract claims that have been the focus of intense discovery ever since the Initial Case Scheduling

28   Conference four months ago.
                                                         1
          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
Case 3:24-cv-06507-JD   Document 127   Filed 06/17/25   Page 6 of 16
        Case 3:24-cv-06507-JD           Document 127         Filed 06/17/25      Page 7 of 16



 1   facts,” to which counsel for Figma responded, “I would say we know a lot of facts.” Böll Decl. Ex. 5

 2   at 6:15-17 (May 15, 2025 Hearing Transcript). After the hearing, the parties submitted a joint

 3   statement agreeing to the August 18, 2025 trial date and setting the a schedule “to complete

 4   remaining discovery with the benefit of the current record in this case.” ECF No. 104.

 5          Since the PI hearing, Figma has continued to aggressively press forward with broad ranging

 6   discovery, far beyond what Motiff understood to be the limited scope of remaining discovery

 7   contemplated by the Court and existing claims. Whereas Motiff propounded only an additional three

 8   interrogatories (without additional requests for production despite Figma’s deficient production),

 9   Figma propounded an additional set of 13 interrogatories, 22 requests for admission, and two
10   additional sets of requests for production containing 34 and 10 requests, respectively. Böll Decl.

11   ¶ 11. On or around June 6, counsel for Motiff traveled to Hong Kong a second time for Figma’s

12   additional depositions of Motiff fact witnesses. Id. ¶ 12. These depositions were conducted from

13   June 10-17, including the second depositions of Ryan Zhang, Ethan Zhang, and Max Zhang, and the

14   depositions of four other witnesses for a total of 33 hrs., 27 mins. of additional testimony. Id.

15          Despite the near-completion of discovery (including extensive discovery taken both before

16   and since the PI hearing), Figma decided to file a Motion for Leave to Amend Complaint (“Motion”)

17   just two months before the pre-trial conference. ECF No. 115. Figma’s Proposed First Amended

18   Complaint (“FAC”) has 37 more paragraphs, three brand new claims (that could have been raised

19   much sooner), and even 3 new foreign defendants. Figma has not provided discovery or documents
20   relating to its new causes of action (for example, relating to the technological effectiveness of its

21   protective measures or technological harm for its CFAA claim), and Motiff has not had an

22   opportunity to take any such discovery.

23   III.   LEGAL STANDARD

24          After a responsive pleading is filed, “a party may amend its pleading only with the opposing

25   party’s written consent or the court’s leave.” FRCP 15(a)(2). “Leave to amend is not to be granted

26   automatically. A trial court may deny such a motion if permitting an amendment would prejudice the
27   opposing party, produce an undue delay in the litigation, or result in futility for lack of merit.” Jackson

28   v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990) (citing Foman v. Davis, 371 U.S. 178, 182
                                                        3
       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
           Case 3:24-cv-06507-JD        Document 127        Filed 06/17/25      Page 8 of 16



 1   (1962)). The Ninth Circuit has identified five factors for assessing a motion for leave to amend:

 2   “(1) bad faith; (2) undue delay; (3) prejudice to the opposing party; (4) futility of amendment; and

 3   (5) whether the plaintiff has previously amended his complaint.” Nunes v. Ashcroft, 375 F.3d 805, 808

 4   (9th Cir. 2004). “Prejudice to the opposing party is the most important factor affecting whether the

 5   Court should grant leave to amend.” Scognamillo v. Credit Suisse First Bos., LLC, 587 F. Supp. 2d

 6   1149, 1155 (N.D. Cal. 2008). Putting Motiff through “the time and expense of continued litigation on

 7   a new theory, with the possibility of additional discovery, would be manifestly unfair and unduly

 8   prejudicial.” Jackson, 902 F.2d at 1388 (internal quotation marks omitted). Each of the five factors

 9   weigh against granting leave to amend or are, at best, neutral.1
10   IV.      ARGUMENT

11            Figma’s proposed amendments come just two months before trial and two or more months

12   after the underlying facts were known to it. The Court recognized that discovery was almost completed

13   in connection with the preliminary injunction, and set the case for an expedited trial. There is no

14   justification to expand the case this close to trial, and permitting such an amendment at this late stage

15   will unduly prejudice Motiff. Further, Figma’s motivations in expanding the case at this late stage are

16   suspect. Figma’s motion should be denied at least because of the undue prejudice to Motiff, Figma’s

17   unjustified delay in moving to amend (or even advising the Court or Motiff of its intent to do so), and

18   the circumstances suggesting bad faith or dilatory motive.

19           A.     The Proposed Amendment Will Cause Substantial Undue Prejudice to Motiff
20            Figma’s unsupported claim that “Defendants will not be prejudiced by the proposed

21   amendments” could not be more wrong. “Prejudice is heightened when a Plaintiff seeks to amend a

22   complaint late in litigation.” Scognamillo, 587 F. Supp. 2d at 1155 (citations omitted). In particular,

23   “[s]uch prejudice may result when the new allegations add claims based on different legal theories or

24

25
     1
      Each of the cases cited in Figma’s Legal Standards is distinguishable. In Overpeck, the proposed
     amendment eliminated causes of action and did not add any new ones. Overpeck v. FedEx Corp.,
26   No. 18-CV-07553-PJH, 2020 WL 2542030, at *3 (N.D. Cal. May 19, 2020). In Sonoma and
     Moeller, controlling precedents changed mid-way through the litigation. Sonoma Cnty. Ass’n of
27   Retired Emps. v. Sonoma Cnty., 708 F.3d 1109, 1117 (9th Cir. 2013); Moeller v. Taco Bell Corp.,
     No. C 02-5849 PJH, 2013 WL 12440996, at *2 (N.D. Cal. Nov. 21, 2013). Eminence involved a
28   particular Securities Act requiring pleading with “an unprecedented degree of specificity.” Eminence
     Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003). Robertson is addressed elsewhere.
                                                       4
         DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
Case 3:24-cv-06507-JD   Document 127   Filed 06/17/25   Page 9 of 16
Case 3:24-cv-06507-JD   Document 127   Filed 06/17/25   Page 10 of 16
Case 3:24-cv-06507-JD   Document 127   Filed 06/17/25   Page 11 of 16
         Case 3:24-cv-06507-JD         Document 127         Filed 06/17/25      Page 12 of 16



 1   provides no explanation for its long delay in providing its proposed amendments purported to be based

 2   on this discovery conducted before early April, nor for its failure to advise the Court or Motiff of its

 3   intentions to amend earlier.

 4            Figma wrongly claims Motiff has been “evasive” regarding corporate entities and

 5   relationships. Not so. Motiff responded fully in February to Interrogatory No. 8 seeking information

 6   on corporate entities based on its investigation to date, and the Court denied Figma’s motion to compel

 7   a further response. See Böll Decl. Ex. 4 at 17:1-20 (March 27, 2025 Hearing Transcript) ([response

 8   read in Court] “THE COURT: Just pause right there. What’s wrong with that? That seems like it was

 9   everything you could ask for. . . . You’ve got enough for now. That part is denied. Okay. Get this thing
10   done.”). Motiff’s deponents then identified and described other entities in their testimony, given at

11   least two months before Figma’s proposed FAC was filed. Motiff has produced tens of thousands of

12   documents and has provided fulsome written discovery. Figma’s long delay in adding additional

13   entities cannot be blamed on Motiff.

14            In a final attempt to justify the long passage of time before the proposed amendment, Figma

15   claims that “Defendants’ unauthorized access persists.”4 Motion at 7. Motiff has addressed and

16   explained these accesses, as shown in Exhibits 10 and 12 to the Hung Decl. But regardless, information

17   about Motiff’s alleged access to Figma is clearly in Figma’s possession in various security records.

18   See Hung Decl. Ex. 9, 11. Figma provides no explanation for why these records were not consulted

19   earlier such that it could have raised the issue in its original complaint, or, at a minimum, in an earlier
20   amendment. And any ongoing access, even if true, would not justify a late amendment. Figma’s

21   original claims already allege access. See, e.g., ECF No. 1 at 4-5 (“On information and belief,

22   Defendants used this access to develop the Motiff product.”). And Figma already knew of the alleged

23   “fictitious accounts” no later than the April depositions. See, e.g., Böll Decl. Ex. 2 at 288:2-289:15;

24   Böll Decl. Ex. 3 at 18:15-19:11, 21:1-22:18, 60:19-61:4, 84:4-106:16 (Deposition Transcript of Ming

25   4
       To the extent ongoing access is purportedly occurring, Figma does not explain why its originally
26   asserted claims would not have encompassed such conduct. Ongoing access, even if true, would not
     justify a late amendment. Moreover, Motiff has addressed and dispelled the allegations of ongoing
27   use through correspondence, see Hung Decl. Ex. 10, 12, and Figma’s counsel has deposed multiple
     Motiff witnesses on that topic. Böll Decl. Ex. 6 at 372:21-380:25 (Deposition Transcript of Yuchen
28   (Ethan) Zhang (Volume 4)); Böll Decl. Ex. 7 at 483:14-486:18 (Deposition Transcript of Haoran
     (Ryan) Zhang (Volume 2)); Böll Decl. Ex. 8 at 52:2-57:18 (Deposition Transcript of Zhenzhi Guan).
                                                       8
         DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
       Case 3:24-cv-06507-JD          Document 127        Filed 06/17/25     Page 13 of 16



 1   (Tim) Yang). Thus, Figma’s undue delay weighs heavily against granting leave to amend.

 2         C.      Figma’s Motion Is Untimely Gamesmanship On the Eve of Trial
 3          Figma’s motion to amend should be denied as based on a dilatory motive or brought in bad

 4   faith. It appears that Figma is trying to gain an unfair procedural advantage by ramming the case

 5   through as fast as possible without affording Motiff and the new defendants a full and fair opportunity

 6   to investigate Figma’s claims and develop defenses against them. Courts in California have recognized

 7   that “a party exhibits a dilatory motive where the addition of new claims would require the opposing

 8   parties to ‘scramble’ to complete discovery before the cutoff or would necessitate the extension of the

 9   discovery period or all deadlines in the case.” Heilman v. Dillen, No. CV 14-6298 JVS (FFM), 2018
10   WL 6262873, at *2 (C.D. Cal. Aug. 16, 2018) (citing AmerisourceBergen, 465 F.3d at 953; Brownlee

11   v. 12745 Moorpark LLC, No. 2:13-CV-9188-ODW, 2014 WL 4978441, at *3 (C.D. Cal. Oct. 3,

12   2014)). This scramble and/or necessity for an extension of all deadlines is precisely what Figma’s

13   amendment appears designed to achieve. The problems posed by the amendment are only compounded

14   by the already expedited nature of the remaining work to be done before trial. Motiff has not taken

15   any discovery on these new claims, and has no opportunity to do so given the expedited timeline.

16          Indeed, the timing of this motion (and its accompanying asymmetrical request for expedited

17   briefing, ECF No. 116) further suggests bad faith or a dilatory motive. Counsel for Figma knew that

18   lead and co-lead counsel for Motiff were about to fly on the evening of June 6 to Hong Kong to prepare

19   witnesses for depositions that began on June 10, 2025. Böll Decl. ¶ 12. Yet, counsel for Figma filed
20   its Motion and accompanying motion for shortened time late in the evening on June 6. ECF Nos. 115

21   & 116. This ensured that Motiff would have limited resources to prepare a response to the Motion.

22          Furthermore, the Motion may be improperly motivated by the desire to seek yet a third round

23   of burdensome depositions from Motiff witnesses. Counsel filed this motion on the eve of a second

24   round of Motiff depositions, presumably to take all the depositions on their existing claims and then

25   leave themselves open to the possibility of yet a third round of depositions should their motion be

26   granted. Figma already obtained 33 hrs., 3 mins. of testimony from 4 witnesses (some of whom sat for
27   multiple days) in connection with the preliminary injunction. Böll Decl. ¶ 3. During the week of

28   June 9, Figma deposed 5 individuals for an additional 33 hrs., 27 mins. Id. ¶ 12. Motiff, on the other
                                                      9
       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
       Case 3:24-cv-06507-JD           Document 127           Filed 06/17/25     Page 14 of 16



 1   hand, has only deposed one individual on June 3 for 3 hrs., 17 mins. Id. ¶ 13. And, before this motion

 2   is decided, Motiff expects to depose 6 individuals from Figma on existing claims as the parties prepare

 3   for trial. Id. ¶ 14. The parties may also conduct additional expert depositions. Figma’s motion does

 4   not state that it will forgo yet another set of serial depositions now in furtherance of its claims, and its

 5   conduct in holding depositions open without justification and re-deposing witnesses multiple times on

 6   overlapping topics strongly suggests it will not.

 7           The timing of the proposed FAC thus is “suspect” and suggests bad faith. Heilman, 2018 WL

 8   6262873, at *3. Figma’s conduct suggests that the motion to amend was designed to maximize the

 9   burdens on Motiff while allowing Figma to press on with its scorched earth campaign to squash its
10   competitor through serial litigation. Because of Figma’s bad faith and dilatory motive in proposing its

11   FAC at this late stage, leave to amend should be denied.

12          D.      Figma’s Approach to This Amendment Should Be Discouraged
13           While this is Figma’s first proposed amendment, that factor is not dispositive and should be

14   found at best neutral. Figma’s conduct before the Court never even hinted at any amendment to the

15   Complaint. As explained above, all of the discovery purporting to support Figma’s amendment was

16   obtained two or more months ago, well before the preliminary injunction hearing on May 15, 2025.

17   Yet, Figma did not advise the Court at the preliminary injunction hearing that it may amend its

18   Complaint, despite the Court setting the case for an expedited jury trial. Figma agreed with the Court’s

19   understanding that “You've done a lot. I’m assuming that -- I'm not going to order a cutoff at this point,
20   but by July, I imagine you'll be done.” Böll Decl. Ex. 5 at 11:19-24. Figma similarly never corrected

21   the Court’s understanding that “So let’s just get to it. You’ve done all the discovery, haven’t you? It

22   looks like -- you filed enough that indicates to me you know pretty much all the facts.” Id. at 6:13-18.

23   Figma had ample opportunity to advise the Court it intended to add three new causes of action and

24   double the number of parties, and yet, it did not. Figma fails to address this in its Motion.

25           Nor did Figma provide Motiff with any notice during the discussions following the May 15

26   hearing. The parties submitted a joint statement on May 20, 2025 confirming their availability for an
27   expedited jury trial for August 18, 2025. ECF No. 104. In that statement, the parties also proposed

28   interim deadlines to govern fact and expert discovery and the identification of accused features. Id.
                                                         10
       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
         Case 3:24-cv-06507-JD         Document 127        Filed 06/17/25      Page 15 of 16



 1   Figma did not identify any intent or potential intent to amend its Complaint in the statement (or the

 2   parties’ discussions), and Figma did not propose any deadline to do so. The FAC comes far too late in

 3   the case with no warning to the Court or Motiff, and thus Figma should not be credited with any benefit

 4   associated with its proposed FAC being the first amendment.5 This factor is thus, at most, neutral.

 5           E.     The Proposed Amendment is Futile
 6            Figma’s Motion hardly touches on the substantive merits of the proposed amendments. Instead,

 7   Figma makes irrelevant and unfounded claims. As Defendants have stated, there is no corporate shell

 8   game. ECF No. 62 at 3. Motiff has been forthcoming in depositions and discovery about the entities

 9   involved in development and distribution of the Motiff Product. Indeed, the Court found Motiff’s
10   interrogatory responses were adequate. Böll Decl. Ex. 4 at 17:1-19; see also ECF No. 62 at 3; Hung

11   Decl. Ex. 2; Hung Decl. Ex. 4 at 12:25-14:20, 15:1-21, 16:15-18:3; Hung Decl. Ex. 5 at 13:7-24; Hung

12   Decl. Ex. 6 at 14:18-16:11; Hung Decl. Ex. 7 at 9:18-11:20. Adding additional entities to the case at

13   this late stage is not needed for Figma to conduct discovery, as Defendants are already providing

14   discovery from those entities. Nor is it needed for Figma to obtain its requested relief. Adding more

15   entities to the case on the eve of trial would only cause further expense and complications.

16            Figma’s proposed causes of action are also futile. For its CFAA claim, Figma’s claimed harm

17   is that it was “forced to expend resources to investigate the repeated, unauthorized access and abuse

18   of its computers.” Proposed FAC ¶ 112. But the Supreme Court, in Van Buren v. United States, 141

19   S.Ct. 1648 (2021), interpreted the terms “damage” and “loss” narrowly to “focus on technological
20   harms—such as the corruption of files—of the type unauthorized users cause to computer systems and

21   data.” Id. at 1659-60. Figma does not allege any corruption of files or other technological harm, only

22   a purported intrusion and an alleged forensic cost. Thus, its claim is futile for lack of technological

23   harm and should be dismissed, consistent with the manner in which courts have applied Van Buren.

24   See hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1195 n. 12 (9th Cir. 2022); X Corp. v. Ctr. for

25
     5
26     Figma cites Elder, but in that case there was no bad faith, no forthcoming expedited trial date, and
     the motion to amend was brought 16 days after learning of new information in response to a first set
27   of discovery. Elder v. Hilton Worldwide Holdings, Inc., No. 16-CV-00278-TEH, 2017 WL 975959,
     at *2 (N.D. Cal. Mar. 14, 2017). Here, Figma waited months to amend in an effort to sandbag Motiff
28   before trial. There is substantial prejudice to Motiff due to the upcoming expedited trial and
     remaining work in advance of that trial.
                                                        11
         DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
          Case 3:24-cv-06507-JD        Document 127          Filed 06/17/25    Page 16 of 16



 1   Countering Digital Hate, Inc., 724 F. Supp. 3d 948, 983 (N.D. Cal. 2024). But see Meta Platforms,

 2   Inc. v. BrandTotal Ltd., 605 F. Supp. 3d 1218, 1265 (N.D. Cal. 2022) (declining to construe Van Buren

 3   and hiQ as foreclosing a loss based on investigative costs, but noting no authority to count costs for

 4   potential violations that do not turn out to be violations).

 5           Figma’s DMCA claim alleges Defendants “are circumventing technological measures that

 6   effectively control access to Figma’s software code . . . by creating fictitious user accounts to gain or

 7   maintain access to Figma’s software even after being terminated . . .” Proposed FAC ¶ 99. But using

 8   a password and username to access a service does not necessarily constitute circumvention under the

 9   DMCA. iSpot.tv, Inc. v. Teyfukova, No. 2:21-CV-06815, 2023 WL 1967958, at *12 n. 12 (C.D. Cal.
10   Jan. 25, 2023). Thus, this factor disfavors allowing Figma’s belated amendment, or is at most neutral.

11   V.      CONCLUSION

12           Figma should not be permitted to cause an unjustified scramble weeks before an expedited trial

13   through the filing of an amended complaint. The proposed FAC would be gravely prejudicial to Motiff,

14   was filed unreasonably late in view of the timing of the relevant discovery, and the circumstances and

15   timing raise the specter of bad faith or improper motive. For the reasons stated herein, Motiff

16   respectfully requests that the Court deny Figma’s motion to amend.

17

18   Date: June 17, 2025                            Respectfully submitted,

19                                                  SIDLEY AUSTIN LLP
20

21                                                  By: /s/ Samuel N. Tiu
                                                         Samuel N. Tiu
22                                                       Eric B. Schwartz
                                                         Gwen Hochman Stewart
23                                                       Brooke S. Böll
                                                         Marissa X. Hernandez
24                                                       Maxwell H. Terry

25                                                       Attorneys for Defendants
                                                         MOTIFF PTE. LTD., YUANFUDAO HK LTD.,
26                                                       AND KANYUN HOLDING GROUP CO. LTD.

27

28
                                                        12
       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT – CASE NO. 3:24-CV-06507
